        Case 2:18-cr-00422-DJH Document 1939 Filed 11/05/23 Page 1 of 4




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16                                  UNITED STATES DISTRICT COURT
17                                  FOR THE DISTRICT OF ARIZONA
18
19 United States of America,                      CASE NO. 2:18-cr-00422-004-PHX-DJH
20                     Plaintiff,                 DEFENDANTS’ OBJECTIONS TO
                                                  GOVERNMENT-PROPOSED
21               vs.                              FORFEITURE VERDICT FORM
22 Michael Lacey, et al.,
23                     Defendants.
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             DEFENDANTS’ OBJECTIONS TO GOVERNMENT-PROPOSED FORFEITURE VERDICT FORM
        Case 2:18-cr-00422-DJH Document 1939 Filed 11/05/23 Page 2 of 4




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11               Defendants object to the Government’s Proposed Verdict Form on the basis that, to
12 the extent the jury finds a connection between property (real or financial) and a given
13 Count on which there is a conviction (if any), the jury should also determine the amount of
14 that property to be forfeited. Defendants have revised the Verdict Form accordingly (see
15 Exhibit A attached).
16               First, under 18 U.S.C. § 981(a)(1)(C) (cited in Forfeiture Allegation One), “[a]ny
17 property, real or personal, which constitutes or is derived from proceeds traceable to a
18 violation of” the Travel Act or any conspiracy to violate the Travel Act is subject to
19 forfeiture. Therefore, for example, as to a bank account, the jury could find that some, but
20 not all, of the funds contained in the account are “traceable” to a charged Travel Act
21 offense. Indeed, this Court has limited the Travel Act conspiracy charge (Count 1) to the
22 fifty charged advertisements. See Dkt. 946 at 13; Final Jury Instructions at 24:5-10 (“First,
23 beginning in or around 2004, and ending on or about April 2018, there was an agreement
24 between two or more persons to commit at least one Travel Act offense as charged in
25 Counts 2-51 . . . .”).
26               Second, under 18 U.S.C. § 982(a)(l) (cited in Forfeiture Allegation Two), property
27 “involved in” a money laundering offense (or “traceable” to such property) is subject to
28 forfeiture. Again, as to a given bank account, the jurors may find that the account itself

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             DEFENDANTS’ OBJECTIONS TO GOVERNMENT-PROPOSED FORFEITURE VERDICT FORM
        Case 2:18-cr-00422-DJH Document 1939 Filed 11/05/23 Page 3 of 4




 1 was not “involved in” a money laundering offense. For example, in United States v.
 2 Huber, 404 F.3d 1047, 1058 (8th Cir. 2005), cited by the Government in its proposed jury
 3 instructions, the court found that a commingled account that then made payments in
 4 furtherance of a money laundering scheme rendered the entire account forfeitable under an
 5 “involved in” theory of forfeiture. Here, however, for example, as to Brunst’s Alliance
 6 Bernstein and BBVA Compass accounts (personal investment and bank accounts), none of
 7 the indictment’s money laundering counts concern payments made out of these accounts.
 8 In other words, these accounts were not “involved in” any alleged money laundering
 9 conspiracy. Therefore, a jury could find that some, but not all, of the funds in these
10 accounts are “traceable” to property involved in a money laundering offense.
11               Third, courts have held that the question of the amount of a given asset to be
12 forfeited is subject to a jury determination (where a jury has been elected, as is the case
13 here). See, e.g., U.S. v. Esformes, Case No. 1:16-cr-20549-RNS, Dkt. 1263 (Verdict
14 Form); United States v. Armstrong, No. CRIM 05-130, 2007 WL 809508, at *4 (E.D. La.
15 Mar. 14, 2007) (“A determination of whether all, some or none of the money sought to be
16 forfeited is linked to the offense for which the defendant was convicted necessarily entails
17 establishing a nexus between the property and the offense. Thus, Rule 32.2(b)(4) is
18 applicable to the third sentence in Rule 32.2(b)(1) and a jury may determine the amount
19 of money subject to forfeiture, if requested by a party in the case.”) (emphasis added);
20 United States v. Tyson Foods, Inc., No. 4:01-CR-061, 2013 WL 8118660, at *6 (E.D.
21 Tenn. Feb. 4, 2013) (“When Rule 32.2(b)(1) and (4) are read together, the Court concludes
22 that the jury must determine two intertwined and inseparable issues regarding forfeiture:
23 (1) whether the government has proved the requisite nexus between the proceeds (i.e., cost
24 savings) and the offense charged in Count One; and (2) the property, i.e., amount of
25 proceeds subject to forfeiture. Assuming arguendo that the jury makes a finding in favor
26 of the government on the nexus issue and connects the offense (Count One) to specific
27 proceeds (Tyson’s cost savings), then the jury necessarily would have to determine the
28 amount of proceeds subject to forfeiture. The amount of the proceeds subject to forfeiture

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             DEFENDANTS’ OBJECTIONS TO GOVERNMENT-PROPOSED FORFEITURE VERDICT FORM
        Case 2:18-cr-00422-DJH Document 1939 Filed 11/05/23 Page 4 of 4




 1 would have to be determined in order for the jury to find a nexus between the property and
 2 the offense.”) (emphasis added).
 3               Pursuant to the District’s Electronic Case Filing Administrative Policies and
 4 Procedures Manual (May 2023) § II(C)(3), Gary S. Lincenberg hereby attests that all
 5 other signatories listed, and on whose behalf this filing is submitted, concur in the filing’s
 6 content and have authorized its filing.
 7 DATED: November 5, 2023                      Respectfully submitted,
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             DEFENDANTS’ OBJECTIONS TO GOVERNMENT-PROPOSED FORFEITURE VERDICT FORM
